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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                 Case No. 3:20cr56-TKW

DONOVAN ELLIS
_____________________________/

                         REPORT AND RECOMMENDATION
                          CONCERNING PLEA OF GUILTY

       The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Count Three, Count Five, and Count

Six of the indictment. After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Rule 11, I determined the guilty plea

was knowing and voluntary and the offenses charged are supported by independent

bases in fact containing each of the essential elements thereof.        I therefore

recommend the plea of guilty be accepted and the Defendant be adjudicated guilty

and have sentence imposed accordingly.

       Dated this 9th day of December 2020.



                                /s/ Charles J. Kahn, Jr.
                                CHARLES J. KAHN, JR.
                                UNITED STATES MAGISTRATE JUDGE
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                         NOTICE TO THE PARTIES

      Objections to these proposed findings and recommendations may be filed
within twenty-four hours after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon the
magistrate judge and all other parties. A party failing to object to a magistrate
judge's findings or recommendations contained in a report and
recommendation in accordance with the provisions of 28 U.S.C. § 636(b)(1)
waives the right to challenge on appeal the district court's order based on
unobjected-to factual and legal conclusions. See U.S. Ct. of App. 11th Cir. Rule
3-1; 28 U.S.C. § 636.




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